                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                  1:12CR20-04

UNITED STATES OF AMERICA                  )
                                          )
      V.                                  )                    ORDER
                                          )
THOMAS E. DURHAM, JR.,                    )
                                          )
            Defendant.                    )
                                          )
_________________________________________ )

       Pending before the Court is Defendant’s Motion for Rule 17 Subpoenas [# 157].

The Court DIRECTS the Government and counsel for Defendant Thomas

Durham, Jr. to appear for a hearing on the Defendant’s motion on Monday May

13, 2013, at 9:30 a.m. in Courtroom 2 of the United States District Court for the

Western District of North Carolina, Asheville Division, 100 Otis Street, Asheville,

North Carolina. At the hearing, the Court will address Defendant Durham’s

Motion for Rule 17Subpoenas [# 157] and the Government’s objections to the

motion.



                                  Signed: May 1, 2013




    Case 1:12-cr-00020-MR-SCR         Document 185      Filed 05/01/13    Page 1 of 1
